         Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 1 of 9




                 STANDARDIZED FUND ACCOUNTING REPORT
   for ISC, INC. TRUST ACCOUNT: HOLZHUETER PHASE 1 PLAN – Cash Basis
                        Receivership; Civil Court Docket No.
                     Reporting Period 1/1/2018 through 3/31/2018

FUND ACCOUNTING: SEC v. Estate of Loren W. Holzhueter, et al.

                                                                        Detail   Subtotal     Grand Total
Line 1       Beginning Balance (as of 1/1/2018)                                  $45,241.49     $45,241.49
             Increases in Fund Balance
Line 2       Business Income
Line 3       Cash and Securities
Line 4       Interest/Dividend Income
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
Line 7       Third-Party Litigation Income
Line 8       Miscellaneous – Other
                                  Total Funds Available (Lines 1 – 8)            $45,241.49     $45,241.49
             Decreases in Fund Balance:
Line 9       Disbursements to Investors                                           $5,269.56      $5,269.56
Line 10      Disbursements for Receivership Operations
 Line 10a    Disbursements to Receiver or Other Professionals
 Line 10b    Business Asset Expenses
 Line 10c    Personal Asset Expenses
 Line 10d    Investment Expenses
 Line 10e    Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
 Line 10f    Tax Administrator Fees and Bonds
 Line 10g    Federal and State Tax Payments
                    Total Disbursements for Receivership Operations               $5,269.56      $5,269.56

Line 11      Disbursements for Distribution Expenses Paid by the Fund
 Line 11a    Distribution Plan Development Expenses:
                1. Fees:
                     Fund Administrator……………………............
                     Independent Distribution Consultant (IDC)
                     Distribution Agent………………………..........
                     Consultants……………………………….........
                     Legal Advisers…………………………...........
                     Tax Advisers……………………………..........
             Total Plan Development Expenses
 Line 11b    Distribution Plan Implementation Expenses:
                1. Fees:
                     Fund Administrator……………………………
                     IDC…………………………………………….
                     Distribution Agent……………………………..
                     Consultants…………………………………….
                     Legal Advisers…………………………...........
                     Tax Advisers……………………………..........
                2. Administrative Expenses:
                3. Investor Identification:
                     Notice/Publishing Approved Plan….………….
                     Claimant Identification…………………...........

                                                   Page 1 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 2 of 9



                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond:
               5. Miscellaneous:
               6. Federal Account for Investor Restitution (FAIR):
            Reporting Expenses
            Total Plan Implementation Expenses
            Total Disbursements for Distribution Expenses Paid by the Fund

Line 12     Disbursements to Court/Other
Line 12a    Investment Expenses/Court Registry Investment
            System (CRIS) Fees
Line 12b    Federal Tax Payments
            Total Disbursements to Court/Other
            Total Funds Disbursed (Lines 9-11):                                     $5,269.56     $5,269.56
Line 13     Ending Balance (as of 3/31/2018):                                      $39,971.93    $39,971.93
Line 14     Ending Balance of Fund – Net Assets:                                   $39,971.93    $39,971.93
 Line 14a   Cash & Cash Equivalents                                                $39,971.93    $39,971.93
 Line 14b   Investments
 Line 14c   Other Assets or Uncleared Funds
            Total Ending Balance of Fund – Net Assets                              $39,971.93    $39,971.93

OTHER SUPPLEMENTAL INFORMATION:
                                                                      Detail       Subtotal     Grand Total
            Report of Items NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
 Line 15a   Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Miscellaneous
            Total Plan Development Expenses Not Paid by the Fund
Line 15b    Plan Implementation Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Investor Identification:
                    Notice/Publishing Approved Plan….………….
                    Claimant Identification…………………...........
                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
            Total Plan Implementation Expenses Not Paid by the Fund
 Line 15c   Tax Administrator Fees & Bonds Not Paid by the Fund
                                                 Page 2 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 3 of 9



            Total Disbursements for Plan Administration Expenses Not Paid by the Fund

Line 16     Disbursements to Court/Other Not Paid by the Fund:
 Line 16a   Investment Expenses/CRIS Fees
 Line 16b   Federal Tax Payments
            Total Disbursements to Court/Other Not Paid by the Fund

Line 17     DC & State Tax Payments
Line 18     No. of Claims:                                                                   162        162
 Line 18a   # of Claims Received this Reporting Period                                         0          0
 Line 18b   # of Claims Received Since Inception of Fund                                     162        162
Line 19
 Line 19a   # of Claimants/Investors Paid This Reporting Period                                1          1
 Line 19b   # of Claimants/Investors Paid Since Inception of Fund                            162        162

                                                                      Receiver:

                                                                      By: /s/ Michael S. Polsky
                                                                          Michael S. Polsky, Receiver


                                                                      Date: April 11, 2018




                                                 Page 3 of 9
         Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 4 of 9




                      STANDARDIZED FUND ACCOUNTING REPORT
                   for ISC, INC. / PHASE II TRUST ACCOUNT– Cash Basis
                               Receivership; Civil Court Docket No.
                              Reporting Period 1/1/2018 to 3/31/2018

FUND ACCOUNTING: SEC v. Estate of Loren W. Holzhueter, et al.

                                                                          Detail      Subtotal     Grand Total
Line 1       Beginning Balance (as of 1/1/2018)                                      $772,255.35    $772,255.35
             Increases in Fund Balance
Line 2       Business Income
Line 3       Cash and Securities                                        Associated
                                                                                      $78,077.09     $78,077.09
                                                                          Bank
Line 4       Interest/Dividend Income
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
Line 7       Third-Party Litigation Income
Line 8       Miscellaneous – Other
                                 Total Funds Available (Lines 1 – 8)                 $851,971.42    $851,971.42
             Decreases in Fund Balance:
Line 9       Disbursements to Investors                                  Phase II      $1,638.98      $1,638.98
Line 10      Disbursements for Receivership Operations                   AVID –
                                                                          Final       $59,765.27     $59,765.27
                                                                         Receipts
                                                                          Lease
                                                                                       $1,219.36      $1,219.36
                                                                        Obligation
                                                                        WI DOR           $25.00          $25.00

 Line 10a    Disbursements to Receiver or Other Professionals             BCBP        $39,178.46     $39,178.46
                                                                          WWC           $560.00        $560.00
 Line 10b    Business Asset Expenses
 Line 10c    Personal Asset Expenses
 Line 10d    Investment Expenses
 Line 10e    Third-Party Litigation Expenses
                 1. Attorney Fees
                 2. Litigation Expenses
 Line 10f    Tax Administrator Fees and Bonds
 Line 10g    Federal and State Tax Payments
                   Total Disbursements for Receivership Operations                   $102,387.07    $102,387.07

Line 11      Disbursements for Distribution Expenses Paid by the Fund
 Line 11a    Distribution Plan Development Expenses:
                1. Fees:
                     Fund Administrator……………………............
                     Independent Distribution Consultant (IDC)
                     Distribution Agent………………………..........
                     Consultants……………………………….........
                     Legal Advisers…………………………...........
                     Tax Advisers……………………………..........
             Total Plan Development Expenses
 Line 11b    Distribution Plan Implementation Expenses:
                1. Fees:
                     Fund Administrator……………………………
                     IDC…………………………………………….
                     Distribution Agent……………………………..
                                                  Page 4 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 5 of 9



                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses:
               3. Investor Identification:
                    Notice/Publishing Approved Plan….………….
                    Claimant Identification…………………...........
                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond:
               5. Miscellaneous:
               6. Federal Account for Investor Restitution (FAIR):
            Reporting Expenses
            Total Plan Implementation Expenses
            Total Disbursements for Distribution Expenses Paid by the Fund

Line 12     Disbursements to Court/Other
Line 12a    Investment Expenses/Court Registry Investment
            System (CRIS) Fees
Line 12b    Federal Tax Payments
            Total Disbursements to Court/Other
            Total Funds Disbursed (Lines 9-11):                                    $102,387.07   $102,387.07
Line 13     Ending Balance (as of 12/31/2017):                                     $749,584.35   $749,584.35
Line 14     Ending Balance of Fund – Net Assets:                                   $749,584.35   $749,584.35
 Line 14a   Cash & Cash Equivalents                                                $749,584.35   $749,584.35
 Line 14b   Investments
 Line 14c   Other Assets or Uncleared Funds
            Total Ending Balance of Fund – Net Assets                              $749,584.35   $749,584.35

OTHER SUPPLEMENTAL INFORMATION:
                                                                      Detail       Subtotal      Grand Total
            Report of Items NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
 Line 15a   Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Miscellaneous
            Total Plan Development Expenses Not Paid by the Fund
Line 15b    Plan Implementation Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Investor Identification:
                    Notice/Publishing Approved Plan….………….
                    Claimant Identification…………………...........
                                                 Page 5 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 6 of 9



                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
            Total Plan Implementation Expenses Not Paid by the Fund
 Line 15c   Tax Administrator Fees & Bonds Not Paid by the Fund
            Total Disbursements for Plan Administration Expenses Not Paid by the Fund

Line 16     Disbursements to Court/Other Not Paid by the Fund:
 Line 16a   Investment Expenses/CRIS Fees
 Line 16b   Federal Tax Payments
            Total Disbursements to Court/Other Not Paid by the Fund

Line 17     DC & State Tax Payments
Line 18     No. of Claims:
 Line 18a   # of Claims Received this Reporting Period                                   0          0
 Line 18b   # of Claims Received Since Inception of Fund                                162        162
Line 19
 Line 19a   # of Claimants/Investors Paid This Reporting Period                          1          1
 Line 19b   # of Claimants/Investors Paid Since Inception of Fund                       162        162

                                                                      Receiver:

                                                                      By: /s/ Michael S. Polsky
                                                                          Michael S. Polsky, Receiver


                                                                      Date: April 11, 2018




                                                 Page 6 of 9
         Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 7 of 9




                       STANDARDIZED FUND ACCOUNTING REPORT
                        for HONEFI LLC TRUST ACCOUNT– Cash Basis
                               Receivership; Civil Court Docket No.
                              Reporting Period 1/1/2018 to 3/31/2018

FUND ACCOUNTING: SEC v. Estate of Loren W. Holzhueter, et al.

                                                                        Detail     Subtotal   Grand Total
Line 1       Beginning Balance (as of 1/1/2018)                                     $0.00        $0.00
             Increases in Fund Balance
Line 2       Business Income
Line 3       Cash and Securities
Line 4       Interest/Dividend Income
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
Line 7       Third-Party Litigation Income
Line 8       Miscellaneous – Other
                                  Total Funds Available (Lines 1 – 8)               $0.00        $0.00
             Decreases in Fund Balance:
Line 9       Disbursements to Investors
Line 10      Disbursements for Receivership Operations                  Phase II
 Line 10a    Disbursements to Receiver or Other Professionals
 Line 10b    Business Asset Expenses
 Line 10c    Personal Asset Expenses
 Line 10d    Investment Expenses
 Line 10e    Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
 Line 10f    Tax Administrator Fees and Bonds
 Line 10g    Federal and State Tax Payments
                    Total Disbursements for Receivership Operations                 $0.00        $0.00

Line 11      Disbursements for Distribution Expenses Paid by the Fund
 Line 11a    Distribution Plan Development Expenses:
                1. Fees:
                     Fund Administrator……………………............
                     Independent Distribution Consultant (IDC)
                     Distribution Agent………………………..........
                     Consultants……………………………….........
                     Legal Advisers…………………………...........
                     Tax Advisers……………………………..........
             Total Plan Development Expenses
 Line 11b    Distribution Plan Implementation Expenses:
                1. Fees:
                     Fund Administrator……………………………
                     IDC…………………………………………….
                     Distribution Agent……………………………..
                     Consultants…………………………………….
                     Legal Advisers…………………………...........
                     Tax Advisers……………………………..........
                2. Administrative Expenses:
                3. Investor Identification:
                     Notice/Publishing Approved Plan….………….
                     Claimant Identification…………………...........

                                                   Page 7 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 8 of 9



                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond:
               5. Miscellaneous:
               6. Federal Account for Investor Restitution (FAIR):
            Reporting Expenses
            Total Plan Implementation Expenses
            Total Disbursements for Distribution Expenses Paid by the Fund

Line 12     Disbursements to Court/Other
Line 12a    Investment Expenses/Court Registry Investment
            System (CRIS) Fees
Line 12b    Federal Tax Payments
            Total Disbursements to Court/Other
            Total Funds Disbursed (Lines 9-11):                                     $0.00       $0.00
Line 13     Ending Balance (as of 12/31/2017):                                      $0.00       $0.00
Line 14     Ending Balance of Fund – Net Assets:                                    $0.00       $0.00
 Line 14a   Cash & Cash Equivalents                                                 $0.00       $0.00
 Line 14b   Investments
 Line 14c   Other Assets or Uncleared Funds
            Total Ending Balance of Fund – Net Assets                               $0.00       $0.00

OTHER SUPPLEMENTAL INFORMATION:
                                                                     Detail        Subtotal   Grand Total
            Report of Items NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
 Line 15a   Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Miscellaneous
            Total Plan Development Expenses Not Paid by the Fund
Line 15b    Plan Implementation Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator……………………………
                    IDC…………………………………………….
                    Distribution Agent……………………………..
                    Consultants…………………………………….
                    Legal Advisers…………………………...........
                    Tax Advisers……………………………..........
               2. Administrative Expenses
               3. Investor Identification:
                    Notice/Publishing Approved Plan….………….
                    Claimant Identification…………………...........
                    Claims Processing………………………..........
                    Web Site Maintenance/Call Center………........
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
            Total Plan Implementation Expenses Not Paid by the Fund
 Line 15c   Tax Administrator Fees & Bonds Not Paid by the Fund
                                                 Page 8 of 9
     Case: 3:15-cv-00045-jdp Document #: 426-1 Filed: 04/17/18 Page 9 of 9



            Total Disbursements for Plan Administration Expenses Not Paid by the Fund

Line 16     Disbursements to Court/Other Not Paid by the Fund:
 Line 16a   Investment Expenses/CRIS Fees
 Line 16b   Federal Tax Payments
            Total Disbursements to Court/Other Not Paid by the Fund

Line 17     DC & State Tax Payments
Line 18     No. of Claims:
 Line 18a   # of Claims Received this Reporting Period
 Line 18b   # of Claims Received Since Inception of Fund
Line 19
 Line 19a   # of Claimants/Investors Paid This Reporting Period
 Line 19b   # of Claimants/Investors Paid Since Inception of Fund

                                                                      Receiver:

                                                                      By: /s/ Michael S. Polsky
                                                                          Michael S. Polsky, Receiver


                                                                      Date: April 11, 2018




                                                 Page 9 of 9
